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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                   Columbia Division

Matthew Alexander Nielson; J.Z., a Minor     )      Civil Action No. 3:12-cv-01427-CMC
Under age 18 by his Parent & Guardian        )
Michelle Stephens; D.M., a Minor Under age )
18 by her Parent & Guardian Victoria Reed; )
the Freedom From Religion Foundation, Inc., )
                                             )
                              Plaintiffs,    )
                                             )      MOTION OF ATTORNEY GENERAL
                v.                           )      FOR LEAVE TO FILE
                                             )      SECOND SUPPLEMENTAL
                                             )      AMICUS MEMORANDUM
School District Five of Lexington & Richland )
Counties; Board of Trustees of School        )
District Five of Lexington and Richland      )
Counties; Dr. Stephen W. Hefner, in his      )
official capacity as School District Five    )
Superintendent; and Mr. Robert Gantt in his )
official capacity as School District Five    )
Board Chairperson,                           )
                                             )
                              Defendants,    )
_____________________________________)

       Without objection from the parties, Attorney General Alan Wilson hereby moves for

leave to file by June 27, 2014, a Second Supplemental          Memorandum in Support of the

constitutionality of S.C. Code Ann. §6-1-160, the statute upon which the Board of Trustees of

School District Five has based its invocation policy at issue in this case. This date is scheduled

by the Court for supplemental replies by the parties to supplemental cross-briefs. Text Order of

May 7, 2014 (Document Number 84). See also, Status Report (Document Number 85).

       This Court has previously allowed the Attorney General to file a memorandum and a

supplemental memorandum regarding that constitutional issue. Text Orders of December 2,

2013 (Document No. 65) and January 22, 2014 (Document Numbers 73 and 74). The Attorney
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General filed memoranda in response to those Orders (Document Numbers 64-1 and 75) which

specifically referenced the Town of Greece v. Galloway case then pending at the United States

Supreme Court and attached his amicus brief in that case.

       This Court deferred ruling in this case until after the Supreme Court issued an opinion in

Town of Greece. Text Order of February 20, 2014 (Document Number 82). Now that the

Supreme Court has issued its Opinion, the Attorney General would like to address further the

constitutional issue in the instant case including discussion of the Greece decision as it relates

thereto.   See Text Order of May 7 and Status Report of the parties, May 21, 2014; Town of

Greece, N.Y. v. Galloway, 12-696, 2014 WL 1757828 (U.S. May 5, 2014)

       By filing his Memorandum on or before June 27, the Attorney General can respond to

any points of the parties regarding the constitutional issue. Therefore, the Attorney General

respectfully requests permission to submit a Second Supplemental Amicus Memorandum.

                                                    Respectfully submitted,

                                                    ALAN WILSON
                                                    Attorney General
                                                    Federal ID No.10457

                                                    ROBERT D. COOK
                                                    Solicitor General
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                                                    /s/ J. Emory Smith, Jr.
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                                                    Counsel for the Attorney General




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Rule 6.01, D.S.C. CONSULTATION

       Undersigned counsel hereby confirms that he consulted with counsel for the other parties

and that they do not object to this motion.

                                                   /s/ J. Emory Smith, Jr.
                                                   J. EMORY SMITH, JR
                                                   Deputy Solicitor General

May 23, 2014




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